        Case 2:24-cv-02636-NJC-JMW Document 14 Filed 04/17/24 Page 1 of 3 PageID #: 253

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

 Amanda Reynolds, individually and on behalf of all               )
            others similarly situated                             )
                                                                  )
                                                                  )
                            Plaintijf(s)
                                                                  )
                                                                  )
                                 V.                                     Civil Action No. 2:24-cv-02636-NJC-JMW
                                                                  )
             Mercy Investment Services, et al.                    )
              See Attached Summons Rider
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

T o: (Defendant's name and address) Mercy Investment Services
                                    2039 North Geyer Road
                                    Saint Louis, Missouri 63131
                                    (See Attached Summons Rider)




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Eecl. R. Civ.
P. 1 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Amanda S. Reynolds, Esq.
                                       3 Harvard Drive
                                       Woodbury, NY 11797-3302



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           BRENNA B. MAHONEY
                                                                          CLERK OF COURT


Date:     4/17/2024
                                                                                    Signature ofClerk or Deputy Clerk
         Case 2:24-cv-02636-NJC-JMW Document 14 Filed 04/17/24 Page 2 of 3 PageID #: 254

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-02636-NJC-JMW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case 2:24-cv-02636-NJC-JMW Document 14 Filed 04/17/24 Page 3 of 3 PageID #: 255

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NEW YORK EASTERN DISTRICT

       AMANDA REYNOLDS, individually
       and on behalf of all others similarly
       situated,
                                                      Index No.: 2:24-cv-02636-NJC-JMW
                                Plaintiffs,
                                                             Honorable N. Choudhury

                    v.                                    Honorably Magistrate J. Wicks

      MERCY INVESTMENT SERVICES,
      INC., MERCY EDUCATION SYSTEM
      OF THE AMERICAS, SISTERS OF
      MERCY OF THE AMERICAS MID-
      ATLANTIC COMMUNITY, INC.,
      OUR LADY OF MERCY ACADEMY,
      CORP., BOARD OF DIRECTORS OF
      OUR LADY OF MERCY ACADEMY,
      SISTER LISA GRIFFITH, Executive
      Director, MARGARET MYHAN, OLMA
      President, PATRICIA DILOLLO, OLMA
      Director of Advancement, and JANE
      AND JOHN DOE, fictitious names for the
      remaining Board of Directors members,

                                  Defendants.



                                   AMENDED SUMMONS RIDER

  Defendant Mercy Investment Services               Defendant Mercy Education System of the
  2039 North Geyer Road                             Americas
  Saint Louis, Missouri 63131                       8403 Colesville Road
                                                    Silver Spring, Maryland 20910

  Defendant Sisters of Mercy of the Americas Mid-   The Board of Directors of Our Lady of Mercy
  Atlantic Community, Inc.                          Academy
  8403 Colesville Road                              815 Convent Road
  Silver Spring, Maryland 20910                     Syosset, New York 11791

  Our Lady of Mercy Academy Corp.                   Sr. Lisa Griffith, MESA Executive Director
  815 Convent Road                                  8403 Colesville Road
  Syosset, New York 11791                           Silver Spring, Maryland 20910

  Margaret Myhan                                    Patricia DiLollo
  144 Tullamore Road                                5 Washington Avenue
  Garden City, New York 11530                       Bayville, New York 11709
